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                  IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )           4:07 CR 3079
                                           )
           v.                              )
                                           )
                                           )
JOSE ROMO-CORRALES and                     )    REPORT, RECOMMENDATION
FRANCISCO GALVAN-VALDEZ,                   )         AND ORDER
                                           )
                    Defendants.            )


     Defendants have filed motions to suppress evidence obtained in
two warrant searches of a residence in Grand Island, Nebraska.
Defendants claim that the officers conducting a search pursuant to
the first search warrant misled the undersigned magistrate judge
into issuing that warrant and also exceeded the scope of the
warrant in executing the search. They also claim that the evidence
obtained in the second search of the residence is fruit of the
poisonous tree, obtained as a direct result of the unlawful conduct
throughout the first warrant process.           An evidentiary hearing on
the motions was held on July 21, July 22, and July 25, 2008 before
the undersigned.     I now make my findings and conclusions of law,
and recommend that the motions be denied.



                                   FACTS


     On May 25, 2007 Investigator Mark Dreher of the Grand Island,
Nebraska Police Department was the affiant on an application for a
search warrant presented to the undersigned magistrate judge.
Exhibit 1.      The application sought a warrant to search 315 East
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Dodge Street, Grand Island, Nebraska, for the person of Fidel
Emerjildo Martinez, a fugitive, and "[d]ocumentation, receipts or
items of venue which show Fidel E. Martinez' possession or domain
of the residence."          Id. p. 3.            The affidavit in support of the
application stated that on October 28, 2002 Martinez had been
convicted        in      this     court        of     conspiracy                to     distribute
methamphetamine. He had been sentenced to 135 months imprisonment,
served time, and had been released on supervised release.                                       On
February 26, 2007 his probation officer had filed a petition for
offender under supervision, stating that Martinez had absconded,
and a warrant had been issued for his arrest.                                    The affidavit
further stated that a Todd Friesen, landlord at the residence last
associated with Martinez, had advised Dreher that some Hispanic
males    had     moved   into    another        property        he     owned,        and   Friesen
identified a picture of Martinez as a person who had paid Friesen
a   rent    payment      for     315    East       Dodge       Street          since   Martinez'
whereabouts had been unknown.                  The affidavit further stated that
Dreher     had    learned       ten    days      prior     to        the       application,     in
information provided in response to an administrative subpoena,
that Martinez was the utility subscriber for natural gas at 315
East Dodge Street.              The affidavit further stated that the day
before the warrant application, two subjects were seen outside the
residence at 315 East Dodge Street, and a Hispanic male matching
the description of Fidel Martinez had been seen entering the
residence.        Id. at 6.           The application concluded by seeking a
warrant     authorizing         the     search      of     "the        residence,          garage,
outbuildings, and curtilage of 315 East Dodge Street, Grand Island,
Hall County, Nebraska, and any and all persons and any and all
vehicles associated with said property or persons at the time the
warrant is served, for the person of Fidel E. Martinez, and any
documentation, receipts or venue items showing Fidel E. Martinez'
possession       or   domain     of    the     residence        .     .    .    ."     Id.     The


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undersigned magistrate judge granted the application and issued the
warrant.    Id. at 14.


       Evidence adduced at the hearing established that during the
several months prior to the application for the search warrant for
315 East Dodge Street, Dreher and others in the Tri City Drug Task
Force had been collecting information about drug transactions that
reportedly   were   or   had   been   occurring       in   that   neighborhood,
possibly including at that residence.            Most recently, Dreher had
taken a proffer statement on approximately May 11, 2007 from a
defendant in another drug case who talked about "a group" of
Hispanic males "down on East Dodge" who had been dealing drugs.
The information obtained, however, did not identify individuals by
name, but only by nicknames.        Dreher had sought the administrative
subpoena for utility information in order to get a name associated
with the residence.


       A team of law enforcement officers was assembled to serve the
warrant.   Prior to the actual execution of the search, Dreher held
a briefing for the team members, during which he reviewed with them
the fact that the warrant covered only the person of Fidel Martinez
and venue items or documents connecting him with the residence. He
also stated that if any items of an evidentiary value, particularly
regarding drug trafficking, were spotted during the search, Dreher
was to be notified so the search could be stopped.


       The warrant was served on May 30, 2007 at approximately 7:00
a.m.    A "tactical response team" of seven to ten law enforcement
officers entered the residence first, and "swept" all areas looking
for persons.     Two Hispanic males were found and were brought
outside and detained.       After the residence and garage had been
"cleared" by the tactical team, a "search team" of six officers


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entered the house and garage to search for venue items as listed in
the warrant.


     While searching for venue items in the garage, Investigator
Dreher found two containers of MSM, a hot plate, and several
firearms.      He testified that these items were not covered by any
objects,    and   were   in   plain    view.       Their       importance     to   law
enforcement     was   apparent,     because    MSM      is    a    horse   medication
frequently used as a "cutting agent" for methamphetamine; hot
plates   are    frequently    used    for     heating        MSM    in   "re-rocking"
operations to cut methamphetamine; denatured alcohol is commonly
used in "cleansing" or "re-rocking" methamphetamine; and guns are
frequently associated with drug trafficking.                       Also found in the
garage was a      natural gas bill addressed to Martinez at 315 East
Dodge Street.      Also found in the garage were broken light bulbs,
described as "bowls" commonly used in smoking methamphetamine.


     While searching in a bedroom, Investigator Scott Javins of the
Nebraska State Patrol, another officer assigned to the Tri City
Drug Task Force, found a .40 caliber handgun under a mattress.                      In
addition, he found venue items in a drawer in a dresser/night
stand, Exhibit 10, upper left, and also a partial baggie with what
he suspected was drug residue on the floor behind the night stand.
Exhibit 11, lower left.1            He also found a business card and a
social security card, Exhibit 10, lower right.


     Javins proceeded to an adjacent laundry room.                       In a laundry
hamper of dirty clothes, while looking for "pocket trash" that
might contain venue items, he found a scale located under some



     1
       The dresser/night stand had been moved before the picture
was taken, but the baggie had not.

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laundry.          Exhibit 12, lower right.2           He also found in that room a
vacuum packer food saver, which he knew could be used in packaging
drugs.       As Javins opened a fold-out door to the "mechanical room"
portion of the laundry room, he kicked an orange, cylindrical Gott
cooler about two feet tall.                  He realized it had some "weight to
it," opened it and with his flashlight looked inside.                           He saw a
clear liquid which he believed to be denatured alcohol (which he
knew       from    his   training       is   commonly     used    in   "re-rocking"     or
"cleansing" methamphetamine) and what he believed to be crystals of
methamphetamine in the bottom of the cooler.                       To the left of the
cooler was a gallon container of denatured alcohol.                         Exhibit 12,
lower left.          At this point Javins called Investigator Dreher into
the laundry room and showed him what he had found.                          Dreher then
stopped the search.


       Jason Ackles, an Adams County Deputy Sheriff also assigned to
the Tri City Drug Task Force, testified that he was directed to
search another bedroom and the bathroom of the residence.                          In the
bedroom he shined his flashlight behind a picture hanging on a wall
and saw some papers behind it; he moved the picture and the papers
fell       out,    but   they    were    apparently      not     related   to   venue   or
otherwise valuable.


       He proceeded to the bathroom. There, he shined his flashlight
behind a mirror hanging on the wall above the sink.3                        He saw torn


       2
       The laundry which covered the scale had been removed when
the picture was taken.
       3
       Ackles' testimony termed the item on the wall a "vanity,"
a "medicine chest," or a "mirror." From his various descriptions
and Exhibit 14, I conclude it was either a mirror or a medicine
cabinet which was hanging "on" the wall, that is, not recessed
"into" the wall. Exhibit 14 shows a hole in the wall which was
described as 6" X 8," too small to be a receptacle for a medicine

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paper which he described as "torn sheet rock" paper, showing that
the wall there had been "altered" in some way.                 He lifted the
mirror off the wall and saw a hole approximately 6" x 8" in which
were plastic bags containing what he thought to be more than a
quarter pound of methamphetamine or amphetamine, some papers, and
a scale.    He immediately notified Investigator Dreher, who came to
the bathroom.     Once these items were found, the search was stopped
no later than 8:30 a.m.        The residence was secured until a second
search warrant could be issued authorizing a further search for
additional contraband.


     Once the search of the residence was stopped by Investigator
Dreher,    he   communicated    with   other   law   enforcement     officers,
specifically Monte Czaplewski, a special agent with the Federal
Bureau of Investigation.       Czaplewski prepared an application for a
second search warrant for the residence at 315 East Dodge Street.
That application was presented to the undersigned magistrate judge
on May 30, 2008 at approximately 10:35 a.m.            Exhibit 2, pp. 1-15.
After describing the first search and reciting that although
Martinez had not been found, numerous items connecting Martinez to
the residence had been found, Paragraph 14 of the application
described the items of an incriminating nature which had been found
"in plain view" during the first search, including:


            <     Two 1-pound containers of MSM (a horse vitamin) in
                  the garage
            <     A hot plate in the garage
            <     Denatured alcohol in the garage
            <     Glass bowls in the garage consistent with smoking
                  methamphetamine



cabinet to be recessed into it.

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           <      The cooler in the laundry room containing clear
                  liquid and a clear crystalline substance in the
                  bottom
           <      Another   container       of   denatured    alcohol    in    the
                  laundry room
           <      A digital scale with liquid on it found in the
                  laundry basket under some clothing
           <      Undescribed "paperwork" hidden behind a picture
                  hanging on a bedroom wall
           <      Two ziplock plastic bags found in the hole in the
                  wall behind the bathroom vanity which appeared to
                  contain approximately one-half pound4 of a white
                  crystalline           substance        consistent           with
                                    5
                  methamphetamine


The application sought a warrant authorizing the search of the
residence,     garage,   outbuildings,      curtilage    at   315   East   Dodge
Street, together with any persons or vehicles associated with it at
the time the warrant is served, for Fidel E. Martinez, "and any
items including controlled substances, paraphernalia, records,
documents and materials as defined in this affidavit or listed in
Attachment B which constitute instrumentalities, fruits of evidence
and [sic] violation of federal laws, including but not limited to
Title 21, United States Code, Section 841 (a)(1), 841(b)(1) and



     4
       Deputy Ackles testified that he estimated the amount of
crystalline substance to be "more than a quarter pound, but less
than a pound." Whether it was a quarter pound or a half pound as
stated in the affidavit is not material to the resolution of this
motion.
     5
       Notably the gun and the baggie with residue found in the
bedroom and the guns found in the garage, although found during
the initial search, were not mentioned in the affidavit
supporting the second warrant application.

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846, et seq." Exhibit 2, p. 8.                   I granted the application and
signed the requested search warrant at 10:50 a.m.                          Id. at 16.



                                 LEGAL ANALYSIS


      There is no claim by defendants that the second application
for search warrant did not present probable cause for the issuance
of that warrant. Rather, defendants claim that the application for
the first warrant was misleading, and that the officers executing
the   first   search      warrant     exceeded        the      scope    of    the   search
authorized by that warrant.           The government did not file a brief in
response to the motions.


      The defendants' initial arguments are essentially that (a) the
application for the first search warrant was a subterfuge for
obtaining authorization to conduct a search for drugs and drug-
related contraband at 315 East Dodge Street; (b) the failure of the
affiant in the warrant application to disclose this motive for
seeking the warrant violated Franks v. Delaware, 438 U.S. 154
(1978); and (c) although the warrant authorized a search for only
Fidel   Martinez    and    items      of     venue,    the     officers       conducted   a
thorough   search    of    the   residence         for       drugs   and     drug   related
evidence, which was beyond the scope of the search authorized by
the warrant.


      The Eighth Circuit has summarized the Franks criteria as
follows:


      In Franks, the Supreme Court held that a search warrant
      must be voided and the fruits of the search suppressed if
      a defendant proves by a preponderance of the evidence
      that (1) a law enforcement officer knowingly and


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     intentionally, or with reckless disregard for the truth,
     included a false statement in the warrant affidavit, and
     (2) without the false statement, the affidavit would not
     have established probable cause.     438 U.S. at 155-56;
     United States v. Snyder, 511 F.3d 813, 816 (8th Cir.
     2008). This rationale also applies to information that
     the affiant deliberately or with reckless disregard for
     the truth omits from the affidavit such that the
     affidavit is misleading and insufficient to establish
     probable cause had the omitted information been included.
     United States v. Jacobs, 986 F.2d 1231, 1234 (8th Cir.
     1993) (citing United States v. Reivich, 793 F.2d 957,
     960 (8th Cir. 1986)). To show reckless disregard for
     the truth, we do not look simply at whether a statement
     included in the affidavit was true; rather, we ask
     whether, when looking at all the evidence available to
     the officer, the officer “must have entertained serious
     doubts as to the truth of his [or her] statements or had
     obvious reasons to doubt the accuracy of the information
     he [or she] reported.” United States v. Schmitz, 181
     F.3d 981, 986-87 (8th Cir. 1999) (alterations in
     original) (quoting United States v. Clapp, 46 F.3d 795,
     801 n. 6 (8th Cir. 1995)). An affidavit submitted in
     support of a warrant carries a presumption of validity.
     Franks, 438 U.S. at 171.     A showing of negligence or
     innocent mistake is not enough to establish a Franks
     violation. Id.; Snyder, 511 F.3d at 816. Nevertheless,
     an officer may not circumvent the Franks doctrine by
     providing only selective information to another officer
     who is unaware of the full information and therefore
     includes false information or omits material information
     from an affidavit in support of a warrant. See United
     States v. Davis, 471 F.3d 938, 947 n. 6 (8th Cir. 2006)
     (citing Franks, 438 U.S. at 164 n. 6; Jacobs, 986 F.2d
     at 1235; see also Illinois v. Andreas, 463 U.S. 765, 772
     n. 5 (1983)(“where law enforcement authorities are
     cooperating in an investigation, as here, the knowledge
     of one is presumed shared by all”). Thus, we must look
     at the actions of . . . the affiant, as well as the
     actions of the local law enforcement officers who
     provided information for [affiant] to include in the
     affidavit.

United States v. Neal, 528 F.3d 1069, 1072-73 (8th Cir. 2008)
(Although false information was in affidavit, it was not included



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intentionally, deliberately, or with reckless disregard for the
truth, and thus no Franks violation shown).


      Defendants do not claim that any information included in the
affidavit   in    support    of    the   first    search     warrant      was   false.
Rather, they argue that the affidavit omitted the facts that (1)
the affiant and another law enforcement officer had the day before
the application seen a person matching Martinez' description at 315
East Dodge Street and had not attempted to arrest him, despite
knowing there was an active warrant for his arrest; (2) affiant was
actually conducting a drug investigation; and (3) information tying
315 East Dodge Street to drug trafficking had been received at
times in the preceding months from proffer interviews of drug
defendants.      Defendants claim the omission of these facts misled
the issuing magistrate judge as to the "purpose" of the search to
be conducted, in violation of Franks.


      Had the omitted information been included in the affidavit, it
would not have destroyed the probable cause apparent from the facts
that were recited in the affidavit.                 The information presented
recited that Martinez was a fugitive and that certain information
tied him to the residence at 315 East Dodge Street.                      It created a
fair probability that either Martinez himself or information about
his whereabouts would be found therein.                 Illinois v. Gates, 462
U.S. 213, 238 (1983).        Nothing more was required.


      In fact, the officer's true motive for seeking the warrant,
even supposing it to have been furtherance of his ongoing drug
investigation,      was   irrelevant     to   the       probable    cause    inquiry.
Ironically, defendants cite Whren v. United States, 517 U.S. 806
(1996) in support of their arguments.               However, Whren stands for
the   proposition    that    the     underlying     motive     of   an    officer   in


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conducting a traffic stop is irrelevant if the objective facts
establish probable cause for the stop.                Id. at 813.     Whren has been
applied to other Fourth Amendment contexts as well.                       See United
States v. Villamonte-Marquez, 462 U.S. 579 (1983)(Customs officer
did   not    violate     Fourth   Amendment      by      boarding   vessel    without
reasonable suspicion of a law violation, pursuant to a statute
authorizing customs officers to board any vessel at any time to
examine vessel's manifest and other documents, and later searching
vessel when, after he had boarded it, he smelled marijuana, even
though at the time of the boarding, the customs officer had been
given an anonymous tip that a vessel in the area was carrying
marijuana); United States v. Abumayyaleh, 530 F.3d 641, 648-49 (8th
Cir. 2008) (rejecting defendant's argument that officer's true
intent of searching for weapons violated Fourth Amendment because
search warrant was for stolen articles); United States v. Quezada,
448 F.3d 1005, 1008 (8th Cir. 2006) (applying Whren to entry of an
apartment to carry out "public caretaker" responsibilities, if the
objective facts established that officer could reasonably have
believed an emergency existed); United States v. Roggeman, 279 F.3d
573, 580, n. 5 (8th Cir. 2002) ("[I]t is of no consequence 'that
the motivation for the search did not coincide with the legal
justification' for the search," citing cases; otherwise justified
search      does   not   violate      Fourth   Amendment        because     officer's
underlying motive was to investigate "hunches" regarding criminal
activities unrelated to that justification); United States v.
LaMorie, 100 F.3d 547 (8th Cir. 1996)(Fact that searching officers
may have been looking for weapons when executing a warrant search
for items related to a burglary did not violate Fourth Amendment,
citing Horton v. California, 496 U.S. 128, 138-40 (1990) (Holding
that if officer "has a valid warrant to search for one item and
merely a suspicion concerning the second, whether or not it amounts
to probable cause, we fail to see why that suspicion should


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immunize the second item from seizure if it is found during a
lawful search for the first." 496 U.S. at 139).


     No statements in the first warrant application were shown to
be false or misleading, and the inclusion of the drug-investigation
information would not have influenced the finding of probable
cause.   There was no Franks violation.


     Next, defendants argue that the officers' search pursuant to
the first warrant exceeded the scope of the warrant.                   I disagree.
Although the particularity requirement of the Fourth Amendment
prohibits    a    "general,    exploratory       rummaging        in   a    person's
belongings," (Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971)),
when a search warrant authorizes a search for "items of venue"
associated with a fugitive, the officers are charged with the duty
to find anything at the location being searched with any ties to
any person associated with that place, including the fugitive.
Such items can include, in addition to the obvious examples such as
utility bills or other mail, things that might associate a person
with the fugitive sought by the warrant, such as pictures, CDs,
business cards, cell phones, or even products with serial numbers
that might be traced to a particular location.                  The officers are
legally permitted to search anyplace where such items may be found,
including containers in which they might be hidden.                        "A lawful
search extends to all areas and containers in which the object of
the search may be found."       United States v. Schmitz, 181 F.3d 981,
988 (8th Cir. 1999) (search of jacket pocket, in which marijuana
was found, pursuant to warrant to search for socks and shirt did
not exceed scope of warrant).          See also Abumayyaleh, 530 F.3d at
648-49   (scope     of   warrant     search   for      stolen    video     games   in
convenient       store   was   not    exceeded         when   officers      searched
defendant's office for such items and found weapons); United States


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v. Neal, 528 F.3d 1069, 1074 (8th Cir. 2008) (scope of warrant
search for weapons and ammunition was not exceeded by officers
looking          in       film   canister     found    in    gun     case).        Such   places
legitimately                include     garages,       laundry        baskets       and    their
surroundings, dresser drawers, spaces between or in mattresses, the
surfaces of floors under and behind furniture, and even places
where a person might "hide" such items if trying to conceal his/her
whereabouts or the whereabouts of another, so long as the search
does       not    exceed         the   "reasonableness"          standard     of    the   Fourth
Amendment.6               See, e.g., United States v. Blakeney, 942 F.2d 1001
(6th Cir. 1991) (Opening and searching through suitcase filled with
documents did not exceed warrant authorizing search for "indicia of
occupancy"            in    the   premises).          In    short,    as   bemoaned       by   the
defendants, such a warrant does, in effect, authorize a complete
search      of        a    residence,    because      such    items     may   be    reasonably
expected to be found practically anywhere a piece of paper may be
hidden, provided it is reasonable under the circumstances.


       In this case the search team did not exceed the scope of the
warrant or even approach the legal boundaries of it.                                All of the



       6
                  A warrant to search a house or other building
                  authorizes the police to search any closet,
                  container, or other closed compartment in the
                  building that is large enough to contain the
                  contraband or evidence that they are looking
                  for. If they are looking for a canary's
                  corpse, they can search a cupboard, but not a
                  locket. If they are looking for an
                  adolescent hippopotamus, they can search the
                  living room or garage but not the microwave
                  oven. If they are searching for cocaine,
                  they can search a container large enough to
                  hold a gram, or perhaps less.

United States v. Evans, 92 F.3d 540, 543 (7th Cir. 1996)
(citations omitted).

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places searched were places that papers might be hidden.                In fact,
the witnesses testified that in their experience, venue items had
been found in other searches in similar locations.7                The officers
did not exceed the scope of the first warrant when executing the
search.


     The affidavit stated that the items listed above were found in
"plain view."


     The plain view doctrine permits law enforcement officers
     to “seize evidence without a warrant when (1) ‘the
     officer did not violate the Fourth Amendment in arriving
     at the place from which the evidence could be plainly
     viewed,’ (2) the object's incriminating character is
     immediately apparent, and (3) the officer has ‘a lawful
     right of access to the object itself.’” United States v.
     Hughes, 940 F.2d [1125] 1126-27 (8th Cir. 1991), quoting
     Horton v. California, 496 U.S. 128 (1990).

United    States   v.   Weinbender,    109    F.3d    1327,   1330    (8th   Cir.
1997)(Plain view doctrine applied and scope of warrant search for
clothing was not exceeded by officer removing picture on closet
wall, removing piece of loose drywall behind the picture, and
removing wood pieces behind the drywall, finding weapon silencer,
when police had been told by defendant's ex-wife he had hiding
places in his residence).


     Here, the officers did not exceed the scope of the search.
They were at all times where they were authorized to be, and the

     7
       Even if one excludes the two search techniques here that
may be questionable, the looking into the Gott cooler and the
removal of the mirror from the bathroom wall to see behind it,
the other items found were unquestionably within the scope of
where one might reasonably expect papers to be hidden. Because
of the "inevitable discovery" doctrine discussed infra, (and not
argued by the government), precisely addressing such a
categorization is not critical.

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items listed as being in plain view (the two containers of MSM, hot
plate, denatured alcohol, and glass bowls in the garage, and the
denatured alcohol in the laundry room) were in fact in plain view,
that is, nothing was required to be moved in order to see them.
Further, their incriminating nature was immediately apparent to the
officers, who were well trained and experienced in narcotics
investigation.


     Further, the officers had lawful authorization to search in
the laundry hamper, as such a container may easily contain "pocket
trash" which, as described by Investigator Javins, could very
likely include items of venue.                His searching of the hamper
literally   uncovered     the   digital       scale,    which   was   immediately
apparent as incriminating.


     I conclude that the same is true with the searching of the
wall behind the bathroom mirror.               Deputy Ackles testified that
before he moved or touched the mirror, he shined his flashlight
behind it and saw "torn sheet rock paper" which he thought to
indicate    that   the   wall   had    been    "altered."        This    discovery
permitted him to look behind the mirror for venue items.                  In fact,
venue items (business cards) were found in the hole thus exposed,
as well as the methamphetamine.


     This leaves the cooler.          As stated in note 7, above, however,
the cooler would have been inevitably discovered by the officers'
executing the second warrant.           Thus, even if Investigator Javins
exceeded the scope of the first search warrant in opening the
cooler, thus violating the Fourth Amendment, such does not result
in suppressing the cooler or its contents, because the second
affidavit clearly established probable cause to search for drugs
after the other items listed had been found.              The cooler would have


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been searched during the second search pursuant to the second
warrant, and its contents found.            See Nix v. Williams, 467 U.S.
431, 444 (1984) (Prosecution may use information discovered after
police violate the Fourth Amendment, "if the prosecution can
establish by a preponderance of the evidence that the information
ultimately or inevitably would have been discovered by lawful
means."     The   Eighth   Circuit    has    stated     that    the    inevitable
discovery   doctrine    entails    two    requirements:        (1)    there    is   a
reasonable probability the evidence would have been discovered by
lawful means in the absence of police misconduct, and (2) the
government was actively pursuing a substantial, alternative line of
investigation at the time of the constitutional violation.                    United
States v. Thomas, 524 F.3d 855, 858 (8th Cir. 2008) citing United
States v. Glenn, 152 F.3d 1047, 1049 (8th Cir.1998)8                 In this case
the two requirements are met, because the evidence in the cooler
would have been discovered in the second search, and at the time of
its discovery, the officers were searching for Fidel Martinez or
items of venue connecting him with the residence, a line of
investigation separate from the drug investigation commenced as a
result of the first search.


     In accordance with the foregoing,


     IT THEREFORE HEREBY IS RECOMMENDED to the Hon. Richard G.
Kopf, United States District Judge, that the motions to suppress,
filings 45 and 57, be denied in all respects.

     The parties are notified that failure to object to this report
and recommendation in accordance with the order below may be held
to waive the right to appeal the findings herein.




     8
       Two of the judges in Thomas concurred, arguing that the
Eighth Circuit's formulation of the standard differs from that of
the Supreme Court and should be revisited. 524 F.3d at 860-863.

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     FURTHER, IT HEREBY IS ORDERED:

     1. The parties are given until ten working days following the
filing of the transcript of the hearing on these motions in which
to file their objections to this report and recommendation.

     2. Trial of this matter is set to commence at 9:00 a.m. on
October 6, 2008 before the Hon. Richard G. Kopf, United States
District Judge. Jury selection will be held at commencement of
trial. Trial is scheduled for a duration of four trial days.


     DATED August 8, 2008.


                                   BY THE COURT:



                                   s/  David L. Piester
                                   United States Magistrate Judge




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